            Case 2:24-cv-00538-wks Document 1 Filed 05/15/24 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                                         FOR THE
                                   DISTRICT OF VERMONT



 Sophia Boyages,

                 Plaintiff,

            v.                                         Case No.: 2:24-cv-538

 The University of Vermont and State

 Agricultural College

                  Defendant.




                                          COMPLAINT

       Plaintiff, Sophia Boyages (“Plaintiff” or “Ms. Boyages”), by and through her undersigned

attorneys, for her Complaint against Defendant the University of Vermont and State Agricultural

College (“Defendant” or “UVM”) states and alleges, on knowledge as to her own actions, and

otherwise on information and belief, as follows:

                                        INTRODUCTION

       1.        Plaintiff brings this action seeking monetary relief for Defendant’s copyright

infringement under the Copyright Act of 1976, 17 U.S.C. § 101 et seq.

       2.        Ms. Boyages designed and created a front facing mountain lion head design (the

“SophCat Design”) in which she owns all the rights, title, and interest in the copyright.

       3.        UVM, by way of its Athletic Department, is making unauthorized use of the

SophCat Design and is engaged in the misconduct knowingly and in violation of the United States

Copyright Law.
                                 JURISDICTION AND VENUE

       4.        This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).



                                                   1
              Case 2:24-cv-00538-wks Document 1 Filed 05/15/24 Page 2 of 7




        5.       The Court has personal jurisdiction over Defendant because Defendant has

purposefully directed their unlawful conduct to this judicial district and conducts substantial

business in this judicial district.

        6.       Venue is proper under 28 U.S.C. §§ 1391(c) and 1400(a) because a substantial part

of the acts and omissions giving rise to the claims occurred here and Defendant resides in this

district.

                                                  PARTIES

        7.       Sophia Boyages, former administrative assistant to the Director of Athletics in the

Athletic Department at UVM, is an individual located in Ohio.

        8.       Upon information and belief, Defendant the University of Vermont and State

Agricultural College is a public institution in Burlington, Vermont located at 85 S. Prospect Street

357 Burlington, Vermont 05405 and is liable and responsible to Plaintiff based on the facts herein

alleged.

                                                FACTS

        9.       Ms. Boyages is a skilled artist who studied studio art with a concentration in graphic

design at Denison University.

        10.      Ms. Boyages owns all copyrights for the SophCat Design depicted in Exhibit 1.

        11.      Ms. Boyages is the exclusive owner of all rights, title, interests, and privileges in

and to the SophCat Design.
        12.      The SophCat Design is registered with the United States Copyright Office as seen

in the registration depicted in Exhibit 2.

        13.      The SophCat Design is a new and original work and was not derived from UVM’s

original catamount logo (see Exhibit 3), although both are mountain lion designs, each presents

original representations of a profile and front-facing head of a mountain lion. A derivative work

must involve an original work being “recast,” “transformed,” or “adapted,” and nothing like that

took place here, as the SophCat Design is original and distinctive when compared to the original

UVM logo.

                                                   2
             Case 2:24-cv-00538-wks Document 1 Filed 05/15/24 Page 3 of 7




       14.      Ms. Boyages was an administrative assistant to the Director of Athletics at UVM

where she provided high level administrative and clerical support to the Athletic Department and

the Director of Athletics.

       15.      Ms. Boyages’ job functions and duties consisted of the following:

             a. Executive support for Director of Athletics. Manage calendar; schedule and

                confirm meetings with internal and external constituents; handle meeting

                preparation and coordinate necessary follow-up; manage ad’s incoming mail

                (regular and email) and assist with prioritizing and organizing responses; create and

                generate reports as needed; maintain confidential files; coordinate and or create

                powerpoint/presi and other presentations; preparation of briefing materials for

                meetings, travel, and on/off campus events; and coordinate with liaison to

                president, provost, and other coordinators as needed

             b. Coordination of AD Travel, briefings and reports. Book accommodations and

                arrange other travel logistics as needed; provide travel itineraries; compose follow-

                up correspondence and related documents; prepare expense reports and other forms

                and related materials; and create databases and generate specialized reports.

             c. General Office Coverage. Provide coverage for main administrative office suite;

                answer general athletic phone calls; and greet office visitors.

             d. Support for other senior departmental administrators and department wide
                meetings. Schedule meeting dates, locations and guest speakers; coordinate

                catering as needed; create and coordinate agendas as needed; coordinate staff

                meetings and meeting locations; and attend and take minutes at departmental staff

                meetings and meetings of Athletic Advisory Board.

       16.      Ms. Boyages was the only support staff member invited to the brand working group

meetings for the Athletic Department because department directors knew of her special skills in

graphic design and wanted to leverage her skills and expertise.



                                                  3
             Case 2:24-cv-00538-wks Document 1 Filed 05/15/24 Page 4 of 7




       17.      Unbeknownst to the members and directors of the Athletic Department and UVM,

Ms. Boyages, in her own time and with her own resources, independently created a new and

original logo design, which she entitled the SophCat Design, without any artistic or creative

contribution, oversight, or instruction from any of the members or directors of the Athletic

Department or UVM.

       18.      Ms. Boyages created the SophCat Design because she saw an opportunity to

showcase her skills and value in hopes of being promoted within the Athletic Department or

receiving credit and compensation for the SophCat Design.

       19.      With hopes of being promoted and/or credited and compensated, Ms. Boyages

presented the SophCat Design to the members and directors of the Athletic Department as a

potential idea for a secondary logo on January 31, 2023, even though she had no obligation to

share the design with UVM or its Athletic Department.

       20.      Without Plaintiff’s consent or authorization, and without any renumeration to

Plaintiff, the Defendant willingly copied, reproduced, displayed, and published the SophCat

Design, including, but not limited to, the following as depicted in Exhibit 4:

             a. Press release stating that the design is the University’s secondary logo.

             b. Applied for Federal Trademark protection with the United States Patent and

                Trademark Office. Please see applications attached in Trademark Application

                Serial Numbers 98023005, 98023029, 98044465, and 98044488.
             c. Using the design in paid partnership advertisements on Instagram and Facebook.

             d. Posting the design as a photo on the University’s Facebook page.

             e. Placing the design on media microphones.

             f. Placing the design on clothing, sporting equipment, including uniforms, and

                memorabilia.

             g. Using the design as wall signage in the University’s facilities.

             h. Using the design as the Instagram profile photos for athletic team accounts.

             i. Using the design as school letterhead.

                                                  4
             Case 2:24-cv-00538-wks Document 1 Filed 05/15/24 Page 5 of 7




             j. Using the design as part of advertising and marketing for the athletic teams and

                individual athletes.

       21.      Defendant failed to include an intellectual property clause in the Plaintiff’s

employment contract and failed to incorporate the intellectual property clause by reference in the

employment contract.

       22.      Defendant failed to provide the Plaintiff with an employee handbook that discusses

the policies and procedures of the University.

       23.      Defendant failed to provide Plaintiff with the University’s policy relating to

intellectual property or an assignment contract prior to the start of the meetings or after the SophCat

Design was presented to the Athletic Department.

       24.      Upon information and belief, Defendant failed to obtain a license to use the

SophCat Design, thereby infringing on Plaintiff’s copyrights in and to the SophCat Design.

       25.      Defendant engaged in the infringement knowingly and in violation of applicable

United States Copyright laws.

       26.      Upon information and belief, UVM has received a financial benefit directly

attributable to the infringement.

       27.      Upon information and belief, UVM has paid millions of dollars, in the past, for

University logos, and is now using the SophCat Design as a University logo for free.

                                          FIRST COUNT
                    (Direct Copyright Infringement, 17 U.S.C. § 501 et seq.)

       28.      Plaintiff repeats, re-alleges, and incorporates herein by reference as though fully set

forth, the allegations contained in the preceding paragraphs.

       29.      The SophCat Design is an original, creative work in which the Plaintiff owns a valid

copyright.

       30.      The SophCat Design is properly registered with the United States Copyright Office

and Plaintiff has complied with all statutory formalities under the Copyright Act and under

regulations published by the United States Copyright Office.

                                                  5
             Case 2:24-cv-00538-wks Document 1 Filed 05/15/24 Page 6 of 7




       31.      Plaintiff has not granted Defendant a license or right to use the SophCat Design in

any manner, nor has Plaintiff assigned any of her exclusive rights in the copyright to Defendant.

       32.      Through Defendant's conduct alleged herein, including Defendant's reproduction,

distribution, public display, and published the SophCat Design without Plaintiff's permission,

Defendant has directly infringed Plaintiff's exclusive rights in the SophCat Design in violation of

Section 501 of the Copyright Act, 17 U.S.C. § 501.

       33.      Upon information and belief, Defendant's infringing conduct alleged herein was,

and continues to be, willful and with full knowledge of Plaintiff's rights in the SophCat Design and

has enabled Defendant to illegally obtain profits therefrom.

       34.      As a direct and proximate result of Defendant's infringing conduct, Plaintiff has

been harmed and is entitled to damages and recovery of Defendant's profits attributable to

Defendant's infringement, and an accounting of and a constructive trust with respect to such profits

pursuant to 17 U.S.C. § 504(b).

       35.      Alternatively, Plaintiff is entitled to statutory damages, pursuant to 17 U.S.C. §

504(c), for Defendant's willful infringing conduct.

       36.      Plaintiff further is entitled to her attorneys' fees and costs pursuant to 17 U.S.C. §

505 from Defendant.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:
       That the Court enters a judgment finding that Defendant has infringed on Plaintiff's rights

to the SophCat Design in violation of the Copyright Act, 17 U.S.C. §501 et seq, and therefore

award damages and monetary relief as follows:

                a. finding that Defendant infringed Plaintiff's copyright interest in and to the

                   SophCat Design by reproducing, distributing, publishing, and displaying it

                   without consent, license or assignment;




                                                  6
         Case 2:24-cv-00538-wks Document 1 Filed 05/15/24 Page 7 of 7




              b. for damages and recovery of Defendant's profits attributable to Defendant's

                  infringement, and an accounting of and a constructive trust with respect to such

                  profits pursuant to 17 U.S.C. § 504(b);

              c. for statutory damages pursuant to 17 U.S.C. § 504(c), for Defendant's willful

                  infringing conduct;

              d. for Plaintiff’s attorneys' fees and costs pursuant to 17 U.S.C. § 505 from

                  Defendant; and

              e. for any other relief as the Court deems just and proper.



                                REQUEST FOR JURY TRIAL

      Plaintiff requests a trial by jury on all issues so triable


                                      Respectfully submitted,

DATED: May 15, 2024



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                                                  7
